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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION



PEGGY FARRICIELLI,

             Plaintiff,

      v.                                    CASE NO.: 2:17-cv-00369-UA-MRM

COMCAST CABLE
COMMUNICATIONS, LLC,

            Defendant.
__________________________/



                            STIPULATION TO DISMISS

      Pursuant to Rule 41(a)(1)(A)(ii), the parties, through counsel, hereby

advise the Court that they have agreed to the dismissal of this action, with

prejudice, and with each party to bear its own costs and fees.



/s/Daniel O. Mena                                     /s/ Sharina Romano
Daniel O. Mena                                        Sharina T. Romano
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 12, 2019, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system, which served it on all counsel of record,

  including those on the Service List below.


                                                /s/ Sharina Romano
                                                    Sharina T. Romano
